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                                                                          134b
                                                                     20-32-M-DWM
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                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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7023                MMS - Inbox                                                                                             MMS
        Subject: (No subject)
        From: +18179521876                                                         Time stamp
                                                                                   (Device time        12/29/2017 11:19:52 PM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party: +18179521876

        Direction: Incoming                           Read status: Read                 Deleted: No

        Just had this sent to my inbox with a few questions that I don’t know how to field. They are all over this movie
        issue. They are looking for similarities to include your gear setup. Frenchy is taking point so expect a call from him.
        I have assured them the leak is definitely not from you and they are, or strongly appear to be, comfortable that it
        was not you either.
        ￼


        Attachments (1)




               90f62e1c-64.jpeg




                                                                                                                               1935
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-12   Filed 02/25/22 Oxygen
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7280                SMS - Inbox                                                                                            SMS
        Description: (No description)
        From: +18179521876                                                        Time stamp
                                                                                  (Device time        12/22/2017 6:39:24 AM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party: +18179521876

        Direction: Incoming                           Read status: Read               Deleted: No

        This seems to be hitting too close to home. I just viewed the official trailer and I don’t want to speculate
        prematurely but there seems to be a female character in some of the shots that makes me very uncomfortable that
        it’s portraying me. Have you spoken to HQ or CB?

7281                MMS - Inbox                                                                                           MMS
        Subject: (No subject)
        From: +18179521876                                                        Time stamp
                                                                                  (Device time        12/22/2017 6:37:43 AM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party: +18179521876

        Direction: Incoming                           Read status: Read               Deleted: No

        ￼


        Attachments (1)




               d550dc09-cd.jpeg
7282                SMS - Inbox                                                                                            SMS
        Description: (No description)
        From: +18179521876                                                        Time stamp
                                                                                  (Device time        12/22/2017 6:35:53 AM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party: +18179521876

        Direction: Incoming                           Read status: Read               Deleted: No

        Hey Mr., getting lots of calls the past 2 days about this movie. Any idea where they got so much in depth detail?
        Paco sent me this photo and said that looks exactly like your normal dress from your shirts, pants and more
        precisely the exact p carrier only you wore with those god awful gloves with the giant knuckles.




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